Case 16-17515-RA|\/| Doc 1 Filed 05/25/16 Page 1 of 28

Fill in this information to identify the case:

 

United States Bankruptcy Court for the:

Southern Dismct of F|orida
(State)

Case number (lfknawn): Chapter 7 \;l Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 04/16

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is availab|e.

 

1- Debt°"$ name Softcare Home Hea|th Services, lnc.

 

2. A|l other names debtor used none

in the last 8 years

 

 

 

|nc|ude any assumed names,
trade names, and doing business
as names

 

 

3. Debtor’s federal Emp|oyer _
identification Number (ElN) 2_ § l § 7_ 8_ 7_ §§

4_ Debtor’s address Principa| place of business Mai|ing address, if different from principal place
of business

175 Fountainebleau Blvd.

 

 

 

 

 

 

Number Street Number Street
Suite 1-H
P.O. Box
Miami FL 33172
Cify State ZlP Code city stare zlP code

Location of principal assets, if different from
principal place of business
Miami-Dade
County

 

 

Number Street

 

 

City State Z|P Code

5. Debtor’s website (URL)

 

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
El Partnership (excluding LLP)
El Other. Specify:

s. Type of debtor

 

Official Form 201 Voluntary Petition for Non-lndividuals Filing for Bankruptcy page 1

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 2 of 28

Debtor Softcare Home Hea|th Services, lnc. Case number(,.,kmwm

 

Name

7. Describe debtor’s business

s. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a
separate |ist.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. if more than 1,
attach a separate list.

Ofiicial Form 201

 

A. Check one:

2 Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
n Sing|e Asset Rea| Estate (as defined in 11 U.S.C. § 101(51B))
n Rai|road (as defined in 11 U.S.C. § 101(44))

Ei Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

Ei Clearing Bank (as defined in 11 U.S.C. § 781(3))

Ei None of the above

B. Check all that apply:

Ei Tax-exempt entity (as described in 26 U.S.C. § 501)

Ei investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

Ei investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NA|CS (North American industry C|assification System) 4-digit code that best describes debtor. See
httg:llwww.naics.com/searchl .

 

Check one:

2 Chapter 7
Ei Chapter 9
n Chapter 11. Check all that apply:

2 Debtor’s aggregate noncontingent liquidated debts (exc|uding debts owed to
insiders or afiiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

2 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). lf the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Ei A plan is being filed with this petition.

Ei Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

Ei The debtor is required to file periodic reports (for example, 10K and 1OQ) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Al'tachment to Voluntary Petition for Non-lndividuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

n The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie

 

12b-2.
n Chapter 12
No
n Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
Ei No
UYes. Debtor Relationship
District When

 

MM / DD /¥Y¥Y
Case number, if known

 

Voluntary Petition for Non-lndividuals Filing for Bankruptcy page 2

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 3 of 28

Debtor Softcare Home Hea|th Servicesl lnc. case number iinmow,.l

 

Name

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

 

Check all that apply:

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Ei A bankruptcy case concerning debtor’s aleiate, general partner, or partnership is pending in this district.

-No

Ei Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

El lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

Ei lt needs to be physically secured or protected from the weather.

Ei it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for examp|e, iivestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

Ei Other

 

Where is the property?

 

Number Street

 

 

City State ZlP Code

ls the property insured?

EiNo

n Yes. insurance agency

 

Contact name

 

Phone

 

- Statistical and administrative information

Check one:

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

Ofiicial Form 201

Ei Funds will be available for distribution to unsecured creditors.

M After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

El 1-49 El 1,000-5,000 El 25,001-50,000

El 50-99 El 5,001-10,000 El 50,001-100,000

El 100-199 El 10,001-25,000 El lvlore than 100,000

El 200-999

El $0-$50,000 El $1,000,001-$10 million El $500,000,001-$1 billion

El $50,001-$100,000 El $10,000,001-$50 million El $1,000,000,001-$10 billion
El $100,001-$500,000 El $50,000,001-$100 million El $10,000,000,001-$50 billion
El $500,001-$1 million El $100,000,001-$500 million El lvlore than $50 billion

Voluntary Petition for Non-lndividuals Filing for Bankruptcy page 3

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 4 of 28

 

 

Debtor Softcare i'iOme Hea|th Sel’ViCeS. inC. Case number (iiknown)
Name
_ _ _ _ _ El $0-$50,000 2 $1,000,001-$10 million El $500,000,001-$1 billion
16' Est"“ated "ab"'t'es El $50,001-$100,000 El $10,000,001-$50 million El $1,000,000,001-$10 billion
El $100,001-$500,000 El $50,000,001-$100 million El $10,000,000,001-$50 billion
El $500,001-$1 million El $100,000,001-$500 million El lvlore than $50 billion

- Request for Relief, Declaration, and Signatures

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17- Dec|a"_ati°n and signatf"e of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of . .
petition.
debtor

l have been authorized to file this petition on behalf of the debtor.

l have examined the information in this petition and have a reasonable belief that the information is true and
correct.

l declare under penalty of perjury that the foregoing is true and correct.

Executed on
MM / DD /YYYY

x l\lliquel Pena Miguel Pena

Signature of authorized representative of debtor Printed name

Tit|e PreSident

 

1a. Signature of attorney x Don D_ G_ James’ Esq_ Date 05/04/2016
Signature of attorneyfor debtor MM /DD /YYYY

 

Don D. G. James, Esq.

Printed name

Law Office of Don James, P.A.
Firm name

2655 Leieune Road, PH1-D

Number Street

Coral Gables FL 33134
City State ZlP Code

305-441-6666 donjamespa@aol.com

Contact phone Email address

 

 

 

 

140661 FL

Bar number State

Official Form 201 Voluntary Petition for Non-lndividuals Filing for Bankruptcy page 4

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 5 of 28

Fill in this information to identify the case:

 

Debtorname Softcare Home Hea|th Services, lnc.

United States Bankruptcy Court for the: Southern District of F|Orida
(State)
Case number (if known):

 

El check if this is an
amended filing

Official Form 2068um
Summary of Assets and Liabilities for Non-lndividuals 12/15

 

m Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206AlB)

 

1a. Real property:

 

 

 

 

 

 

 

 

 

Copy line 88 from Schedule A/B ...................................................................................................................................... $ _0'00
1b. Total personal property: $ 0_00
Copy line 91A from Schedule A/B ....................................................................................................................................
ic. Total of all property: $ 0_00
Copy line 92 from Schedule A/B ......................................................................................................................................
m Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .............................................. $ _0'00
3. Schedule E/F: Credifors Who Have Unsecured Claims (Official Form 206ElF)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F ..................................................................................... $ _0'00
3b. Total amount of claims of nonpriority amount of unsecured claims: 527 478 00
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................... + $ 4
4. Total liabilities ......................................................................................................................................................................
Lines 2 + 38 + 3b $ 527 478.00

 

 

 

 

Official Form 2068um Summary of Assets and Liabilities for Non-|ndividua|s page 1

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 6 of 28

Fi|| in this information to identify the case:

 

osbtornama Softcare Home Hea|th Services, lnc.

 

united states Bankruptcy court for ths; Southern District of F|Ol'ida
(stats)

Case number (if known): m Check if this is an
amended filing

 

Official Form 206AlB
Schedule AlB: Assets _ Real and Personal Property hhs

Disc|ose all property, real and persona|, which the debtor owns or in which the debtor has any other lega|, equitable, or future interest. include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. in Schedule AIB, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Confracfs and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. if an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedu|e, that gives the details for each asset in a particular category. List each asset only once. |n valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this fonn.

m Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?
No. co to Part 2.

m Yes. Fii| in the information beiow.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor’s
interest

2. Cash on hand $ 0.00

3. Checking, savings, money market, or financial brokerage accounts (ldentify all)

 

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1. _ _ _ _ $
3.2. _ _ _ _ $

 

4. Other cash equivalents (ldentilj/ all)
4.1.

 

4.2.

 

 

5. Total of Part 1
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

$ 0.00

 

 

 

m Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

a No. Go to Part 3.
m Yes. Fii| in the information beiow.

Current value of
debtor’s interest

7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit

7.1. $
7.2. $

 

Official Form 206AlB Schedule AlB: Assets _ Real and Personal Property page 1

Dsbtor Softcare Home Hea|th Services, lnc. case number hamlin

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 7 of 28

 

Name

8. Prepayments, including prepayments on executory contracts, |eases, insurance, taxes, and rent

Description, including name of holder of prepayment

 

 

 

3.1. $
8.2. $
9. Total of Part 2. $ O_OO

Add lines 7 through 8. Copy the total to line 81.

m Accounts receivable

10.

11.

12.

Does the debtor have any accounts receivab|e?
No. Go to Part 4.

m Yes. Fill in the information below.

Accounts receivable

11a. 90 days old or less: - = ........ -)
face amount doubtful or uncollectible accounts

11b. Over 90 days old: - = ........ ')

face amount doubtful or uncollectible accounts

Total of Part 3
Current value on lines 11a + 11b = line 12. Copy the total to line 82.

m investments

13.

14.

15.

16.

17.

Does the debtor own any investments?
a No. Go to Part 5.

m Yes. Fill in the information below.
Va|uation method
used for current value
Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.1.

 

 

 

 

Current value of debtor’s
interest

 

 

$_0.00

 

Current value of debtor’s
interest

 

 

 

 

 

 

 

$
14.2. $
Non-pub|icly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, orjoint venture
Name of entity: % of ownership:
15.1. % $
15.2. % $
Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part1
Describe:
16.1. $
16.2. $
Total of Part 4 $ 0-00

Add lines 14 through 16. Copy the total to line 83.

Official Form 206AlB Schedule AlB: Assets _ Real and Personal Property

 

 

page 2

 

 

Dabtor Softcare Home Hea|th Services, lnc. case number iirkmw,.i

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 8 of 28

 

 

Name

m lnventory, excluding agriculture assets

18.

19.

20.

21.

22.

23.

24.

25.

26.

Does the debtor own any inventory (exc|uding agriculture assets)?
2 No. co to Part 6.
m Yes. Fill in the information below.

Genera| description Date of the last Net book value of Valuation method used
physical inventory debtor's interest for current value

(Where available)

Raw materials

 

MM/DD/YYYY $

 

Work in progress

 

 

MM/DD/YYYY $

Finished goods, including goods held for resale

 

 

MM/DD/YYYY $

Other inventory or supplies

MM/DD/YYYV $

 

 

Total of Part 5
Add lines 19 through 22. Copy the total to line 84.

ls any of the property listed in Part 5 perishab|e?

m No

m Yes

Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
Ei No

m Yes. Book value Valuation method Current value

Has any of the property listed in Part 5 been appraised by a professional within the last year?

m No
m Yes

M Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and |and)?

28.

29.

30.

31.

32.

Current value of
debtor’s interest

 

 

0.00

 

 

No. co to Part 7.
m Yes. Fill in the information below.

Genera| description Net book value of Va|uation method used
debtor's interest for current value

(Where available)

Crops-either planted or harvested

Current value of debtor’s
interest

 

 

 

 

 

 

$
Farm animals Examples: Livestock, poultry, farm-raised fish

$
Farm machinery and equipment (Other than titled motor vehicles)

$
Farm and fishing supplies, chemicals, and feed

$

 

 

0ther farming and fishing-related property not already listed in Part 6
$

 

Official Form 206AlB Schedule AlB: Assets _ Real and Personal Property

page 3

 

Case 16-175_15-RAi\/| Doc 1 Filed 05/25/16 Page 9 of 28
Debtor Softcare Home Hea|th Services, lnc. case number iinm.,w,.,

Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

33. Total of Part 6. $
Add lines 28 through 32. Copy the total to line 85.
34. ls the debtor a member of an agricultural cooperative?
m No
m Yes. is any of the debtor’s property stored at the cooperative?
m No
m Yes
35. Has any of the property listed irl Part 6 been purchased within 20 days before the bankruptcy was filed?
m No
m Yes. Book value $ Vaiuation method Current value $
36. ls a depreciation schedule available for any of the property listed in Part 6?
Ei No
m Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
m No
m Yes
m Office fumiture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
m No. Go to Part 8.
m Yes. Fii| in the information beiow.
Generai description Net book value of Valuation method Current value of debtor’s
debtor's interest used for current value interest
(Where available)
39. Office furniture
$ $
40. Office fixtures
$ $
41. Office equipment, including all computer equipment and
communication systems equipment and software
$ $
42. Col|ectib|es Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles
42.1 $ $
42.2 $ $
42.3 $ $
43. Total of Part 7.
. . $ 0.00
Add lines 39 through 42. Copy the total to line 86.

 

 

 

44. ls a depreciation schedule available for any of the property listed in Part 7?

n No
n Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

i;i No
n Yes

Official Form 206AlB Schedule AlB: Assets _ Real and Personal Property page 4

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 10 of 28
Dabtor Softcare Home Hea|th Services. lnc. case number iinm.,w,.,

Name

Machinery, equipment, and vehicles

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

2 No. co to Part 9.

m Yes. Fill in the information below.

Genera| description Net book value of Va|uation method used Current value of
debtor's interest for current value debtor’s interest
include year, make, model, and identification numbers (i.e., VlN,

HlN, or N-number) (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

47.1 $ $
47.2 $ $
47.3 $ $
47.4 $ $
48. Watercraft, trailers, motors, and related accessories Examples: Boats,
trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 $ $
43.2 $ $
49. Aircraft and accessories
49.1 $ $
49.2 $ $
50. Other machinery, fixtures, and equipment (exc|uding farm
machinery and equipment)
$ $
51. Total of Part 8. $ 0_00
Add lines 47 through 50. Copy the total to line 87.

 

 

 

52. ls a depreciation schedule available for any of the property listed in Part 8?

i;i No
n Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

m No
Ei Yes

Official Form 206AlB Schedule AlB: Assets _ Real and Personal Property page 5

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 11 of 28
Dabtor Softcare Home Hea|th Services, lnc. case number i,-nm.,w,.i

Name

m Real property

54. Does the debtor own or lease any real property?
No. co to Part 10.

 

 

m Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Descriptton and iooatton of property Nature and extent Net book value of Valuation method used Current value of
irreiude street r,iddress dr otrier description such as of debtor’s interest debtor's interest for current value debtor’s interest
Assessor Parce| Number (APN), and type of property in P"°Pe"ty (Where available)

(for example, acreage, factory, warehouse, apartment

or office building), if availab|e.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

55.1 $ $
55.2 $ $
55.3 $ $
55.4 $ $
55.5 $ $
55.6 $ $
56. Total of Part 9. $ 0.00

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

 

 

 

57. is a depreciation schedule available for any of the property listed in Part 9?

i;i No
n Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
m No
n Yes

m intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
2 No. GotoPart11.
m Yes. Fill in the information below.
Genera| description Net book value of Valuation method Current value of
debtor's interest used for current value debtor’s interest
(Where available)
60. Patents, copyrights, trademarks, and trade secrets

 

 

 

 

 

 

 

 

 

 

 

 

 

$ $
61. internet domain names and websites

$ $
62. Licenses, franchises, and royalties

$ $
63. Customer |ists, mailing |ists, or other compilations

$ $
64. 0ther intangibles, or intellectual property $

$

65. Goodwi||

$ s
66. Total of Part 10. $ 0_00

Add lines 60 through 65. Copy the total to line 89.

 

 

 

Official Form 206AlB Schedule AlB: Assets _ Real and Personal Property page 6

Case 16-17515-RAi\/| Doc 1 Filed 05/25/16 Page 12 of 28
Dabtor Softcare Home Hea|th Services, lnc. case number i,-nm.,w,.i

Name

 

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

Ei No
n Yes
68. is there an amortization or other similar schedule available for any of the property listed in Part 10?
n No
m Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
n No
Ei Yes

m All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in executory contracts and unexpired leases not previously reported on this forrn.
No. co to Part12.

m Yes. Fill in the information below.
Current value of
debtor’s interest
71. Notes receivable
Description (include name of obligor)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ = _) $
Total face amount doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)
Description (for examp|e, federa|, state, |oca|)
Tax year $
Tax year $
Tax year $
73. interests in insurance policies or annuities
$
74. Causes of action against third parties (whether or not a lawsuit
has been filed)
$
Nature of claim
Amount requested $
75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
$
Nature of claim
Amount requested $
76. Trusts, equitable or future interests in property
$
77. Other property of any kind not already listed Examples: Season tickets,
country club membership
78. Total of Part 11.
. . $_0.00
Add lines 71 through 77. Copy the total to line 90.

 

 

 

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

n No
m Yes

Official Form 206AlB Schedule AlB: Assets _ Real and Personal Property page 7

Case 16-17515-RAi\/| Doc 1

Dabtor Softcare Home Hea|th Services, lnc.

 

Name

in Part 12 copy all of the totals from the earlier parts of the form.

80.

81.

82.

83.

84.

85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206AlB

Filed 05/25/16 Page 13 of 28

Case number (irknown)

 

 

 

 

 

 

 

Type of property Current value of Current value
personal property of real property
Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $ 0'00
Deposits and prepayments. Copy line 9, Part 2. $ 0-00
Accounts receivable. Copy line 12, Part 3. $ 0'00
|nvestments. Copy line 17, Part 4. $ 0-00
inventory. Copy line 23, Part 5. $ 0'00
Farming and fishing-related assets. Copy line 33, Part 6. $
Office furniture, fixtures, and equipment; and collectibles. $ 0_00
Copy line 43, Part 7.
Machinery, equipment, and vehicles. Copy line 51, Part 8. $ 0'00
Real property. Copy line 56, Part 9. . .................................................................................. 9 $_0'00
intangibles and intellectual property. Copy line 66, Part 10. $ 0'00
All other assets. Copy line 78, Part 11. + $ 0-00
Tota|. Add lines 80 through 90 for each column. ........................... 91a. $ 0'00 + 91b_ $_Q-Q_O_

 

 

 

 

 

Total of all property on Schedule AlB. Lines 91a + 91b = 92. ...........................................................................................

Schedule AlB: Assets _ Real and Personal Property

 

 

0.00

 

page 8

 

Case 16-17515-RAl\/| Doc 1 Filed 05/25/16 Page 14 of 28

Fill in this information to identify the case:

 

oebtor name Softcare Home Hea|th Services. lnc.

united states Bankruptcy court for the: Southern District of F|orida

(State)
Case number (lf known):

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible.

El cheek ii this is an
amended filing

 

 

 

1. Do any creditors have claims secured by debtor’s property?
No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
i:l Yes. Fill in all of the information below.

m List Creditors Who Have Secured Claims

Column A Column B
Amount of claim Value of collateral
Do not deduct the value that Supp°rts this

2. List in alphabetical order all creditors who have secured claims. if a creditor has more than one
secured ciaim, list the creditor separately for each ciaim.

 

 

 

 

 

 

 

 

 

 

of collateral. claim
m Creditor‘s name Describe debtor’s property that is subject to a lien
$ $
Creditor‘s mailing address
Describe the lien
Creditor‘s email address, if known ls the creditor an insider or related party?
Ei No
n Yes
Date debt was incurred ls anyone else liable on this claim?
L t4 d' 't f t n N°
as '9' s ° a°°°“" El Yes. Fill out schedule H.- codebtors(otiioiai Form 206H).
number _ _ _ _
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
§ N° _ _ _ _ _ _ n Contingent
Yes. Specify each creditor, including this creditor, m Uniiquidaied
and its relative priority. n Disputed
m Creditor‘s name Describe debtor’s property that is subject to a lien
$ $

 

Creditor’s mailing address

 

 

 

 

 

Creditor‘s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
m No
m Yes. Have you already specified the relative
priority'?
m No. Specify each creditor, including this
creditor, and its relative priority.

 

 

Ei Yes. The relative priority of creditors is
specified on lines

Describe the lien

 

is the creditor an insider or related party?
m No
m Yes

ls anyone else liable on this claim?

Ei No
n Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

m Contingent

El unliquidated
n Disputed

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional

Page, if any.

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of_

Softcare Ho(r§n§s_eegi§]-yBlB-RG(|:\-/| Doc 1 Fl|ed 05/25/16 Page 15 of 28

Debtor ef'V|CeS, Case number (irknown)

Name

_ _ Column A Column B
Addltl°llal Page Amount of claim Value of collateral

Do not deduct the value that SUPP°"tS this

 

 

 

 

 

 

 

 

Creditor‘s mailing address

 

 

Creditor‘s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?

UNo

m Yes. Have you already specified the relative
prioritY?
m No. Specify each creditor, including this
creditor, and its relative priority.

n Yes. The relative priority of creditors is
specified on lines

Official Form 206D

 

 

 

of collateral. claim
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page.
|;| Creditor‘s name Describe debtor’s property that is subject to a lien
$ $
Creditor‘s mailing address
Describe the lien
Creditor‘s email address, if known is the creditor an insider or related party?
n No
m Yes
Date debt was incurred ls anyone else liable on this claim?
L t4 d' 't f t m N°
as igi s o acc°un n Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number _ _ _ _
Do multiple creditors have an interest in the As °f the peiiii°" fiii"g date' the ciai"i isi
same property? Check all that apply.
n No n Contingent
n Yes. Have you already specified the relative § Uiiiiquidaied
prioriiy? Disputed
Ei No. Specify each creditor, including this
creditor, and its relative priority.
n Yes. The relative priority of creditors is
specihed on lines
|§| Creditor‘s name Describe debtor’s property that is subject to a lien
$

 

 

 

Describe the lien

 

ls the creditor an insider or related party?
n No

m Yes

ls anyone else liable on this claim?
n No
Ei Yes. Fill out Schedule H: Codebtors (Ochial Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

n Contingent
El unliquidated
El Disputed

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page _ of _

Case 16-17515-RAl\/| Doc 1 Filed 05/25/16 Page 16 of 28
Debtor Sfoga[Q ljng Hea|th SQD[|QES I[ig Case number (irknown)

Name

 

m List Others to Be Notified for a Debt Already Listed in Part 1

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

if no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. if additional pages are needed, copy this page.

On which line in Part 1 Last 4 digits of
did you enter the account number
related creditoi’? for this entity

Name and address

 

Line 2. _

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page _ of _

 
 

Fi|| in this information to identify the case:

Debior Softcare Home Hea|th Services, lnc.

 

District of F|orida
(state)

United States Bankruptcy Court for the: Southern

Case number
(if known)

 

 

Official Form 206ElF

 

Schedule ElF: Creditors Who Have Unsecured Claims

4 ° 16-17515-RA|\/| Do 1 Fi|°¢ 05 25/16 Page 17 Oi 28

El check if this is an
amended filing

12I15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY unsecured claims and Part 2 for creditors with NONPR|OR|TY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206AlB) and on Schedule G: Executory Confracfs and Unexpired Leases

(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the |eft. if more space is needed for Part 1 or Part 2, fill out and attach

the Additional Page of that Part included in this form.

m List All Creditors with PR|OR|TY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

No. co to Part 2.
i;i Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. if the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

m Priority creditor’s name and mailing address

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PR|OR|TY unsecured
claim: 11 U.S.C. § 507(a)( )

m Priority creditor’s name and mailing address

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PR|OR|TY unsecured
claim: 11 U.S.C. § 507(a) (ggggg)

m Priority creditor’s name and mailing address

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PR|OR|TY unsecured
claim: 11 U.S.C. § 507(a)( )

Official Form 206ElF

Total claim Priority amount

As of the petition filing date, the claim is: $ $
Check all that apply.
n Contingent

El unliquidated
n Disputed

 

Basis for the claim:

 

ls the claim subject to offset?

El No
n Yes

As of the petition filing date, the claim is: $ $
Check all that apply.
El Contingent

El unliquidated
El Disputed

 

Basis for the claim:

 

ls the claim subject to offset?

El No
El Yes

As of the petition filing date, the claim is: $ $
Check all that apply.
n Contingent

El unliquidated
n Disputed

 

Basis for the claim:

 

is the claim subject to offset?

El No
n Yes

Schedule ElF: Creditors Who Have Unsecured Claims page 1 of_

Debtor sorteare i-lcii?n’tl§itieti@ti%?e'§it<%§iiib/.| DOC 1 Fi|€d O5/2§/ala6numb|§’r<’il9§m,13 Oi 23

Name

m Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the

 

 

 

 

 

 

 

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PR|OR|TY unsecured
claim: 11 U.S.C. § 507(a)( )

|:| Priority creditor‘s name and mailing address

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PR|OR|TY unsecured
claim: 11 U.S.C. § 507(a)( )

|:| Priority creditor‘s name and mailing address

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PR|OR|TY unsecured
claim: 11 U.S.C. § 507(a)( )

Official Form 206ElF

 

previous page. if no additional PR|OR|TY creditors exist, do not fill out or submit this page. T°iai °iai"i Pi'i°i'iiy am°u"i
|:| Priority creditor‘s name and mailing address $ $
As of the petition filing date, the claim is:
Check all that apply.
El Contingent
El unliquidated
El Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account is the claim subject to offset?
number _ _ _ El No
. . El Yes
Specify Code subsection of PR|OR|TY unsecured
claim: 11 U.S.C. § 507(a)( )
|:| Priority creditor‘s name and mailing address $

 

As of the petition filing date, the claim is:
Check all that apply.

El Contingent

El unliquidated

El Disputed

Basis for the claim:

 

ls the claim subject to offset?
El No
El Yes

 

As of the petition filing date, the claim is:
Check all that apply.

El Contingent

El unliquidated

El Disputed

Basis for the claim:

 

ls the claim subject to offset?

El No
i;l Yes

As of the petition filing date, the claim is: $

Check all that apply.
n Contingent
El unliquidated
n Disputed

Basis for the claim:

 

ls the claim subject to offset?

El No
n Yes

Schedule ElF: Creditors Who Have Unsecured Claims

page _ of _

Debtor

Softcare Hoq;n@$i¢e§l@rit`>;§rii&£lhyi DOC 1 Fiied O5/2§/ate6numbie)r"tig§m:i'9 Oi 28

 

Name

 

m List All Creditors with NONPR|OR|TY Unsecured Claims

 

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. lf the debtor has more than 6 creditors with nonpriority

§

unsecured claims, fill out and attach the Additional Page of Part 2.

Nonpriority creditor‘s name and mailing address

CACH, LLC / On Deck Capital

 

4340 S. Monaco Streetl #2

 

Denver, CO 80237

 

Date or dates debt was incurred

_OLLL

Last 4 digits of account number

Nonpriority creditor‘s name and mailing address

CAN Capital Asset Servicing, lnc.

09/11/2013

 

2015 Vaughn Road, #500

 

KenneSaW, bl-\ JU'l¢i-¢i-

 

Date or dates debt was incurred

£0_0_1

Last 4 digits of account number

Nonpriority creditor‘s name and mailing address
Palmetto GBA. LLC / CMS l\lledicare
Post Office Box 100277

12/02/2014

 

Columbla, SC 29202

 

Date or dates debt was incurred

_O_O_O_O

Last 4 digits of account number

Nonpriority creditor‘s name and mailing address
American Express

M

 

Post Office Box 981535

 

Date or dates debt was incurred
8 8 8 A

Nonpriority creditor‘s name and mailing address

T D Bank

Last 4 digits of account number

08/20/2014

 

Post Office Box 5600

 

iiéWiSton, iviE 04243

 

Date or dates debt was incurred

LO_O_L

Last 4 digits of account number

Nonpriority creditor‘s name and mailing address

Leaf Capital Funding

07/23/2012

 

Post Office Box 644006

 

Clnclnnatl, OH 45264

 

Date or dates debt was incurred

1_84_1

Last 4 digits of account number

Official Form 206ElF

07/28/2014

As of the petition filing date, the claim is:

Amount of claim

112,500.00

 

Check all that apply.
Ei Contingent
2 unliquidated
2 Disputed

Basis for the claim: debt
ls the claim subject to offset?

g No
m Yes

As of the petition filing date, the claim is:
Check all that apply. $

147,551.00

 

Ei Contingent
2 unliquidated
Ei Disputed

Basis for the claim: CiVii i|Udnglt

ls the claim subject to offset?

g No
n Yes

As of the petition filing date, the claim is:

168,961.00

 

Check all that apply.
Ei Contingent
unliquidated
Ei Disputed

Basis for the claim: debt

ls the claim subject to offset?
No

Ei Yes

As of the petition filing date, the claim is:

29,155.00

 

Check all that apply. $
Ei Contingent

unliquidated

Ei Disputed

Basis for the elaim: credit card
ls the claim subject to offset?

JNo

Ei Yes

As of the petition filing date, the claim is:

43,360.00

 

check ali that apply. $
Ei Contingent

unliquidated

Ei Disputed

Basis for the elaim: credit / debt

ls the claim subject to offset?
No

n Yes

As of the petition filing date, the claim is:

4,451.00

 

Check all that apply. $
Ei Contingent

2 unliquidated

El Disputed

Basis for the claim: debt

ls the claim subject to offset?
g No
n Yes

Schedule ElF: Creditors Who Have Unsecured Claims

page _ of _

seesme Fi@d OS/zsit@iimaeus,z@ Oi 28

Name

m Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

|;| Nonpriority creditor‘s name and mailing address
Mauricio Lopez clo Alfredo lzaguirre, Esq.

338 Minorca Avenue

 

L¢Of'a| gableS, I'L dd'ld¢i-

 

Date or dates debt was incurred 06/02/201 5

Last 4 digits of account number Q § _0 1

 

 

Nonpriority creditor‘s name and mailing address

 

 

Quarterspot, lnc.

333 Seventh Avenue, Rm. 1401

 

NeW YOfK, NY 'lUUU'|

 

Date or dates debt was incurred 02/21/2014

Last 4 digits of account number _O 1 L g

|;| Nonpriority creditor‘s name and mailing address
Fresh View Solutions
10865 Grandview Drive, #2000

 

UVef`lal'iO I"af`K, Kb bb£'lU

 

Date or dates debt was incurred 05/1 8/2014

Last 4 digits of account number g g O_ O_

|;| Nonpriority creditor‘s name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

|;| Nonpriority creditor‘s name and mailing address

 

 

 

Date or dates debt was incurred

As of the petition filing date, the claim is:
Check all that apply.
Ei Contingent
Unliquidated
2 Disputed
Ei Liquidated and neither contingent nor
disputed

Basis for the claim: debt

ls the claim subject to offset?
No
m Yes

As of the petition filing date, the claim is:
Check all that apply.

Ei Contingent

unliquidated

Ei Disputed

Basis for the claim: debt

ls the claim subject to offset?

2 No
n Yes

As of the petition filing date, the claim is:
Check all that apply.

Ei Contingent

unliquidated

2 Disputed

Basis for the claim: debt

ls the claim subject to offset?

No
m Yes

As of the petition filing date, the claim is:
Check all that apply.

Ei Contingent

2 unliquidated

Ei Disputed

Basis for the claim:

ls the claim subject to offset?
m No
n Yes

As of the petition filing date, the claim is:
Check all that apply.

El Contingent

2 unliquidated

Ei Disputed

Basis for the claim:

ls the claim subject to offset?

Ei No
Last 4 digits of account number _ _ _ _ E| Yes
Official Form 206ElF Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

15,000.00

 

5,000.00

 

1,500.00

 

 

page _ of _

bauer sorioare Ho§t%~°i$e!ii@nist>§/io"e'§ittt(' DOC 1 Fi'€d O5/2§/ate6mmb'§’i<'ii9§,i,21 Oi 23

Name

m List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

 

|f no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. |f additional pages are needed, copy the next page.

Name and mailing address On which line in Part 1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any
4.1. Line

 

Ei Not iisted. Expiain _ _ _ _

 

 

 

4.2. Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4.3. Line
2 Not listed. Expiain _ _ _ _

 

 

 

 

4.4. i_ine

2 Not listed. Expiain _ _ _ _

 

 

 

 

4.5. i_ine

Ei Not iisted. Expiain _ _ _ _

 

 

 

 

4.6. Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4.7. Line

Ei Not iisted. Expiain _ _ _ _

 

 

 

 

4.8. Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4'9' Line

 

Ei Not iisted. Expiain _ _ _ _

 

 

 

4.10. Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4.11. Line

 

Ei Not iisted. Expiain _ _ _ _

 

 

 

Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

Official Form 206ElF Schedule ElF: Creditors Who Have Unsecured Claims page _ of _

Debtor Softcare HoQi@$l¢ee|@Tt`>ei:%/ii&'$i?lhb{i DOC 1 Fiied O5/2§/ate6riumbie)r"tiig§m)22 Oi 28

Name

 

 

E Additional Page for Others to Be Notified About Unsecured Claims

 

Name and mailing address on which line in Part 1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number,
if any
4- Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4' Line

2 Not listed. Expiain _ _ _ _

 

 

 

 

4. Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4. Line

2 Not listed. Expiain _ _ _ _

 

 

 

 

4. Line

2 Not listed. Expiain _ _ _ _

 

 

 

 

4_ Line

 

Ei Not iisted. Expiain _ _ _ _

 

 

 

4. Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4_ Line

Ei Not iisted. Expiain _ _ _ _

 

 

 

 

4_ Line

 

2 Not listed. Expiain _ _ _ _

 

 

 

4_ Line

Ei Not iisted. Expiain _ _ _ _

 

 

 

 

4. Line

2 Not listed. Expiain _ _ _ _

 

 

 

 

4. Line

Ei Not iisted. Expiain _ _ _ _

 

 

 

 

4. Line

2 Not listed. Expiain _ _ _ _

 

 

 

 

4. Line

Ei Not iisted. Expiain _ _ _ _

 

 

 

 

Official Form 206ElF Schedule ElF: Creditors Who Have Unsecured Claims page _ of _

meas@eaaiths§ie§eM Fi@d Oa/zsit@iimaeus,za Oi 28

Name

 

m Total Amounts of the Priority and Nonpriority Unsecured Claims

 

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

 

5a. Total claims from Part 1 5a. $ 0.00
5b. Total claims from Part 2 5b_ + $ 527,478-00
5c. Total of Parts 1 and 2 5a $ 527 478-00

 

Lines 5a + 5b = 50.

 

 

 

Official Form 206ElF Schedule ElF: Creditors Who Have Unsecured Claims page _ of _

Case 16-17515-RAl\/| Doc 1 Filed 05/25/16 Page 24 of 28

Fill in this information to identify the case:

 

Debtorname Softcare Home Hea|th Services, lnc.

 

United States Bankruptcy Court for the: Southern District of Fiorida
(state)
Case number (if known): Chapter 7

 

2 check if this is an
amended filing

Official Form 2066
Schedule G: Executory Contracts and Unexpired Leases 12115

 

 

Be as complete and accurate as possible. if more space is needed, copy and attach the additional page, numbering the entries consecutive|y.

1. Does the debtor have any executory contracts or unexpired |eases?

No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

Ei Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
Form 206AlB).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

State what the contract or
2.1 lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2.2 lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2.3 lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

2 4 State what the contract or
' lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2.5 lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases page 1 of_

Case 16-17515-RAl\/| Doc 1 Filed 05/25/16 Page 25 of 28

Debtor Softcare Home Hea|th Servicesl lnc. case number irrinow,.i

Name

 

 

- Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

State what the contract or

 

2. lease is for and the nature
of the debtor’s interest

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2. lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or

 

2_ lease is for and the nature
of the debtor’s interest

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2. lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2_ lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2. lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

State what the contract or
2. lease is for and the nature
of the debtor’s interest

 

 

 

State the term remaining

 

 

List the contract number of
any government contract

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases page _ of

Case 16-17515-RAl\/| Doc 1 Filed 05/25/16 Page 26 of 28

Fi|| in this information to identify the case:

 

Debtorneme Softcare Home Hea|th Services, lnc.

 

United States Bankruptcy Court for the: Southern District of Fiorida
(State)

Case number (if known):

 

2 check if this is an
amended filing

Official Form 206H
Schedule H: Codebtors 12/15

Be as complete and accurate as possible. if more space is needed, copy the Additional Page, numbering the entries consecutive|y. Attach
the Additional Page to this page.

 

 

1. Does the debtor have any codebtors?
No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Ei Yes

2. in Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. include ali guarantors and co-ob|igors. in Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is |isted. if the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor

Check all schedules

Name Mai|ing address Name that apply:

2.1

 

Street

EiJiJ
comm
'l'l

 

 

City State ZlP Code

2.2

 

Street

EiJiJ
comm
`|'l

 

 

City State ZlP Code

2.3

 

Street

222

 

 

City State ZlP Code
2.4

 

Street

222

 

 

City State ZlP Code
2.5

 

Street

222
2
'n

 

 

City State ZlP Code

2.6

 

Street

linn
comm
`|'l

 

 

City State ZlP Code

Official Form 206H Schedule H: Codebtors page 1 of_

Case 16-17515-RAl\/| Doc 1 Filed 05/25/16 Page 27 of 28
nestor Softcare Home Hea|th Services, lnc. case number i,-,,m,,w,,,

 

 

Name

- Additional Page if Debtor Has More Codebtors

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
Column 1: Codebtor Column 2: Creditor

Check all schedules

Name Mai|ing address Name that appiy_.

 

Street

222
mmc
`l'l

 

 

City State ZlP Code

 

Street

g
`|i
`l'l

 

 

City State ZlP Code

 

Street

g
`|i
`l'l

 

 

City State ZlP Code

 

Street

U
`
`|'l

 

 

City State ZlP Code

 

Street

U
`
`|'l

 

 

City State ZlP Code

 

Street

E
`
`|'l

 

 

City State ZlP Code

 

Street

222
2
~n

 

 

City State ZlP Code

 

Street

222
mmc
`l'l

 

 

City State ZlP Code

Official Form 206H Schedule H: Codebtors page _ of _

Case 16-17515-RAl\/| Doc 1 Filed 05/25/16 Page 28 of 28

Fill in this information to identify the case and this filing:

 

oeotori~iame Softcare Home Hea|th Services, lnc.

 

United States Bankruptcy Court for the: Southern District of FiOrida
(State)

Case number (if known):

 

Official Form 202
Deciaration Under Penaity of Perjury for Non-lndividuai Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and |iabi|ities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Ru|es 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

- Declaration and signature

l am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual sewing as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct:

Schedule A/B: Assets-Real and Personal Property (Official Form 206AlB)
Schedule D: Credifors Who Have Claims Secured by Property (Ochial Form 206D)
Schedule E/F: Credifors Who Have Unsecured Claims (Official Form 206ElF)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-lndividuals (Official Form 2068um)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Credifors Who Have the 20 Largest Unsecured Claims and Are Not lnsiders (Official Form 204)

2 2 222222

Other document that requires a declaration

 

l declare under penalty of perjury that the foregoing is true and correct.

 

Executed on 05/04/2016 x N|iquel Pena
MM l DD / YYYY Signature of individual signing on behalf of debtor
Miguel Pena

 

Printed name

President
Posiiion or relationship to debtor

 

Official Form 202 Declaration Under Penaity of Perjury for Non-lndividual Debtors

